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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

                                  FEE APPLICATION COVER SHEET

Debtor:      Health Tech Harbor, Inc.            Applicant:          Hellring Lindeman Goldstein & Siegal LLP
Case No.:    20-19017 (RG)                       Client:             Benjamin A. Stanziale, Jr., Trustee
Chapter:     7                                   Case Filed:         July 29, 2020


                                                 SECTION I
                                               FEE SUMMARY

            Interim Fee Application No. 1 or              Final Fee Application

                                                           FEES                          EXPENSES
      Total Previous Fee Requested:                   $                              $
      Total Fees Allowed To Date:                     $                              $
      Total Retainer (If Applicable)                  $                              $
      Total Holdback (If Applicable)                  $                              $
      Total Received By Applicant                     $                              $

      NAME OF PROFESSIONAL               YEAR ADMITTED               HOURS RATE                 FEE
      & TITLE                            (Or Years of Professional
                                         Service)
      Patricia A. Staiano, Esq.                    1986                 325.40           $600   $195,240.00
      Bruce S. Etterman, Esq.                      1984                 288.20           $500   $144,100.00
      TOTALS                                                            613.60                  $339,340.00


                 Fee Totals:                                                  $339,340.00
                 Disbursements Totals:                                           2,662.91
                 Total Fee Application Request:                               $342,002.91
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                                        SECTION II
                                    SUMMARY OF SERVICES

     SERVICES RENDERED                                                        HOURS     FEE
a)   Asset Analysis and Recovery
       Identification and review of potential assets including causes of       129.90   $73,160.00
       action and non-litigation recoveries.
b)   Asset Disposition
                                                                                 0.00           0.00
       Sales, leases, abandonment and related transaction work.
c)   Avoidance Action Litigation
                                                                                 0.90         480.00
       Preferences and fraudulent transfer litigation.
d)   Business Operations
       Issues related to debtor-in-possession operating in Chapter 11 such       0.00           0.00
       as employee, vendor, tenant issues and other similar problems.
e)   Case Administration
       Coordination and compliance activities, including preparation of
       statement of financial affairs, schedules, list of contracts, United      7.20     4,310.00
       States Trustee interim statements and operating reports; contacts
       with the United States Trustee; general creditor inquiries
f)   Claims Administration and Objection
       Specific claim inquires; bar date motions; analyses, objections and      79.70    42,360.00
       allowances of claims.
g)   Employee Benefits/Pensions
       Review issues such as severance, retention, 401K coverage and             0.00           0.00
       continuance of pension plan.
h)   Fee/Employment Applications
       Preparation of employment and fee applications for self or others;       13.10     7,460.00
       motions to establish interim procedures.
i)   Fee/Employment Objections
       Review of objections to the employment and fee applications               0.00           0.00
       of others.
j)   Financing
       Matters under 361, 363 and 364 including cash collateral and              0.00           0.00
       secured claims; loan document analysis.
k)   Litigation
       Other than Avoidance Action Litigation (there should be a separate      349.00   192,340.00
       category established for each major matter).
l)   Meetings of Creditors
       Preparing for and attending the conference of creditors, the 341(a)       9.20     5,460.00
       meeting and other creditors’ committee meetings.
m) Plan and Disclosure Statement
       Formulation, presentation and confirmation; compliance with the
       plan confirmation order, related orders and rules; disbursement and       0.00           0.00
       case closing activities, except those related to allowance and
       objections to allowance of claims.
n)   Relief from Stay Proceedings
       Matters relating to termination or continuation of automatic stay         0.00           0.00
       under 362.

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o)   Accounting/Auditing
       Activities related to maintaining and auditing books of account,        2.80    1,680.00
       preparation of financial statements and account analysis.
p)   Business Analysis
       Preparation and view of company business plan; development and
                                                                               0.00         0.00
       review of strategies; preparation and review of cash flow forecasts
       and feasibility studies.
q)   Corporate Finance
       Review financial aspects of potential mergers, acquisitions and         0.00         0.00
       disposition of company or subsidiaries.
r)   Data Analysis
       Management information systems review, installation and analysis,
                                                                              10.80    6,090.00
       construction, maintenance and reporting of significant case
       financial data, lease rejection, claims, etc.
s)   Litigation Consulting
       Providing consulting and expert witness services related to various
                                                                               6.30    3,450.00
       bankruptcy matters such as insolvency, feasibility, avoiding
       actions; forensic accounting, etc.
t)   Reconstruction Accounting
       Reconstructing books and records from past transactions and             0.00         0.00
       bringing accounting current.
u)   Tax Issues
       Analysis of tax issues and preparation of state and federal tax         4.70    2,550.00
       returns
v)   Valuation                                                                 0.00         0.00
       Appraise or review appraisals of assets
w) Travel Time                                                                 0.00         0.00
y) Other (specify category)                                                    0.00         0.00
     SERVICES TOTALS                                                         613.60 $339,340.00




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                                        SECTION III
                                  SUMMARY OF DISBURSEMENTS

         DISBURSEMENTS                                                                    AMOUNT
         Filing Fees
                                                                                             $     0.00
         Payable to Clerk of Court.
 x)      Computerized Assisted Legal Research                                                    846.14
         Westlaw, Lexis and a description of manner calculated.
 y)      Pacer Fees
                                                                                                  49.10
         Payable to the Pacer Service Center for search and/or print.
 z)      Fax
                                                                                                   0.00
         Include per page fee charged.
 aa) Case Specific Telephone/Conference Call Charges
                                                                                             1,367.85
         Exclusive of overhead charges.
 bb) In-House Reproduction Services
                                                                                                  27.30
         Exclusive of overhead charges.
 cc) Outside Reproduction Services
                                                                                                 154.70
         Including scanning services.
 dd) Other Research
                                                                                                   0.00
         Title searches, UCC searches, Asset searches, Accurint.
 ee) Court Reporting
                                                                                                   0.00
     Transcripts.
 ff) Travel
                                                                                                   0.00
         Mileage, tolls, airfare, parking.
 gg) Courier & Express Carriers
                                                                                                  23.52
     Overnight and personal delivery. (Messenger/Courier and FedEx)
 hh)
     Postage                                                                                     194.30
 ii)
         Other (specify)                                                                           0.00

         DISBURSEMENTS TOTAL:                                                               $2,662.91



I certify under penalty of perjury that the above is true.



Date:      September 14, 2022                               /s/ Patricia A. Staiano
                                                          Signature PATRICIA A. STAIANO




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